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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                               FAYETTEVILLE DIVISION


                  UNITED STATES OF AMERICA                                       PLAINTIFF/RESPONDENT



                         v.                     CRIMINAL NO. 10-50110-003



                  JUAN SANCHEZ-SANCHEZ                                           DEFENDANT/MOVANT



                              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                         On February 27, 2012, the Defendant/Movant Juan Sanchez-Sanchez (hereinafter

                  “Defendant”) filed a 28 U.S.C. § 2255 motion. (Doc. 174). The Government filed a Response

                  on April 10, 2012. (Doc. 181). Defendant filed a Reply on April 30, 2012. (Doc. 182). The

                  matter is before the undersigned for issuance of a Report and Recommendation and is now ripe

                  for consideration.

                                                          Background

                         On January 13, 2011, Defendant was named in one count of a four-count Second

                  Superseding Indictment filed in the United States District Court for the Western District of

                  Arkansas. (Doc. 62). Count One charged Defendant with conspiring to distribute more than 50

                  grams of a mixture or substance containing methamphetamine, in violation of Title 21 U.S.C.

                  §§ 841(a)(1) and (b)(1)(A)(viii), and Title 21 U.S.C. § 846.




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                         On April 12, 2011, a pretrial conference was conducted and the case then proceeded to

                  trial, with a jury being selected and the trial set to begin the following morning. On the morning

                  of April 13, 2011, counsel for the Government and the Defendant advised the Court that they had

                  entered into a Plea Agreement. Pursuant to the written Plea Agreement, Defendant waived

                  indictment and pled guilty to an Information charging him with conspiracy to distribute

                  methamphetamine, in violation of 21 U.S.C. §§ 841 (a) and 846. (Docs. 111, 112, 115). On

                  August 4, 2011, Defendant was sentenced to 240 months imprisonment, 5 years supervised

                  release, a $25,000.00 fine, and a $100 special assessment. (Doc. 136).

                         On August 18, 2011, Defendant filed a Notice of Appeal. (Doc. 142). On appeal,

                  Defendant’s counsel filed a motion to withdraw and a brief under Anders v. California, 386 U.S.

                  738 (1967), asserting that Defendant’s plea was not knowing and voluntary. United States v.

                  Sanchez-Sanchez, 451 F. App'x 614, 615 (8th Cir. 2012) (unpublished opinion). Defendant filed

                  a pro se supplemental brief, arguing that he was sentenced “on the wrong criminal history

                  category level” and the “wrong level according to weight.” (Doc. 174, p. 19). The Eighth

                  Circuit Court of Appeals found that any challenge to the voluntariness of Defendant’s guilty plea

                  was not cognizable on direct appeal because Defendant did not move to withdraw his plea in the

                  district court. The Eighth Circuit, having reviewed the record independently under Penson v.

                  Ohio, 488 U.S. 75 (1988), found no nonfrivoulous issues for appeal. Accordingly defense

                  counsel was granted leave to withdraw, and the District Court’s judgment was affirmed.

                         On February 27, 2012, Defendant filed the instant pro se Motion to Vacate under 28

                  U.S.C. § 2255. (Doc. 174). Defendant appears to raise the following grounds for relief: (1) the

                  Plea Agreement was involuntary because Defendant does not speak English, and therefore, “did


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                  not understand what was happening to him;” (2) his appointed counsel was ineffective because

                  his counsel “failed to bring to the Judge’s attention, the amount of drugs involved in this case,”

                  resulting in a greater base offense level; and 3) he was entitled to a three-level reduction for

                  acceptance of responsibility.1

                  I.      Plea Agreement:

                          Defendant asserts that his plea was not knowing and voluntary because he does not speak

                  English, and did not understand what was in the Plea Agreement.

                          To be constitutionally valid, a guilty plea must be knowing, voluntary, and intelligent.

                  See Parke v. Raley, 506 U.S. 20, 28, 29 (1992) (holding that “guilty plea must be both knowing

                  and voluntary” and must be a “voluntary and intelligent choice among the alternative courses of

                  action” available to defendant). In seeking to ensure that the district court accepts only knowing,

                  voluntary, and intelligent guilty pleas, Rule 11 of the Federal Rules of Criminal Procedure directs

                  the court to conduct a colloquy with the defendant. See Fed.R.Crim.P. 11(c), (d), (f) (requiring

                  court to advise defendant of rights he will forfeit by pleading guilty, to question defendant

                  regarding voluntariness of his decision to plead guilty, and to satisfy itself that there is factual

                  basis for plea). These protections notwithstanding, the Court has said that “[a] guilty plea is a

                  solemn act not to be set aside lightly.” United States v. Prior, 107 F.3d 654, 657 (8th Cir.1997).

                          A review of the transcript of the Change of Plea hearing shows that the Court addressed

                  Defendant’s language barrier:


                         1
                           In it’s Response, the Government addressed other grounds which it believed Defendant to be asserting. The
                          undersigned construes the above listed to be the grounds actually asserted by Defendant based on a review of his
                          §2255 Motion, his Reply to the Government’s Response, and his pro se supplemental brief to the Eighth Circuit,
                          which he referenced in his § 2255 Motion and attached as an exhibit thereto. The undersigned notes that
                          Defendant also asserts that his criminal history category level should have been a II. Defendant’s sentence was,
                          in fact, calculated based upon a criminal history category level of II.

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                         THE COURT:     Now, this agreement is written in English, and I believe
                                        we determined that you don’t read English. But has this
                                        agreement been translated or interpreted for you form
                                        English to Spanish?
                         INTERPRETER:   Yes.
                         THE COURT:     Did you have an interpreter help you in discussing it with
                                        Mr. Miller?
                         INTERPRETER:   You?
                         THE COURT:     Well, did you have someone to interpret the agreement
                                        when you discussed it with your attorney, Mr. Miller?
                         INTERPRETER:   Yes.
                         THE COURT:     Okay, I assume that was Ms. Andrade.
                         INTERPRETER:   Yes.
                         THE COURT:     Okay. Now, based upon that, it appears that you signed
                                        it on the last page. Did you, sir?
                         INTERPRETER:   Yes.
                         THE COURT:     Now, did you go over it carefully with Mr. Miller and
                                        with an interpreter before you signed it?
                         INTERPRETER:   Yes.
                         THE COURT:     I want to make sure you understand what’s in this
                                        agreement.
                         THE DEFENDANT: Si.
                         THE COURT:     Do you believe you do, sir?
                         INTERPRETER:   Yes.

                  (Doc. 151, p. 3-4). The transcript further reveals that the Court questioned Defendant to ensure

                  that Defendant understood the impact of pleading guilty:


                         THE COURT:             All right. Let’s review briefly. I’ve asked you a series of
                                                questions here with several purposes in mind. I want to
                                                make sure that you know what you’re doing, that you’re
                                                not impaired or don’t know what you’re doing. I want to
                                                be sure that you are satisfied with the services of Mr.
                                                Miller, and you’ve told me several times that you are. Is
                                                that true?
                         INTERPRETER:           Yes, that’s true.
                         THE COURT:             I wanted to make sure that you understand this agreement
                                                that you’ve made, that it was properly translated for you,
                                                and that nobody forced you to sign it, that you signed it



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                                                voluntarily and acting on the advice of your counsel, and
                                                I am satisfied in all of those areas.

                                                I wanted to be sure you understand the consequences that
                                                would flow from entering a guilty plea, what your
                                                punishment could be and how it would be determined and
                                                by whom, which would, of course, be me. I wanted to be
                                                sure there was a proper basis for this charge against you
                                                and to support any plea of guilty to it that you might
                                                make.

                                                I wanted to be sure you understand that you have the right
                                                to continue with your trial, this one or a trial on this new
                                                charge, plead not guilty and make the government prove
                                                its case. I wanted you to finally understand that if you
                                                plead guilty, it would be the same as if a jury had found
                                                you guilty and there would not be any difference.

                                                We’ve covered other things as well, but before I ask for
                                                your plea now, do you have any question you want to ask
                                                of me about any of these things?
                         INTERPRETER:           Not right now, no.
                         THE COURT:             Okay. Well, this would be the time if you have questions.
                         INTERPRETER:           Yes, I do have knowledge that the drug traffic - -
                         MR. MILLER:            Judge, if it please the Court, I want to cut him off because
                                                I know that this is important information that we will have
                                                a time and a place to discuss this.
                         THE COURT:             All right. This may be something you would want to tell
                                                the probation officer in connection with preparation for
                                                sentencing, but what I want to know is if you have any
                                                confusion or anything you want to ask me about what we
                                                have done here in this hearing. Do you have any
                                                questions at all?
                         INTERPRETER:           No. It’s fine,
                         THE COURT:             I then ask, sir, how do you plead to the charge set out in
                                                the Information, guilty or not guilty?
                         INTERPRETER:           Guilty.

                  (Doc. 151, p. 19-21). The record revealed that an interpreter translated the Plea Agreement from

                  English to Spanish, that an interpreter helped Defendant discuss this Plea Agreement with his

                  counsel, and that an interpreter was present during the Change of Plea Hearing. The Court


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                  questioned Defendant more than once about his understanding of the Plea Agreement with a

                  certified interpreter during the Change of Plea Hearing and Defendant repeatedly answered that

                  he was knowingly and voluntarily entering into the Plea Agreement. United States v. Ceballos,

                  116 F. App'x 45, 47-48 (8th Cir. 2004); United Stated v. Ruvalcaba, 9 F.3d 41, 42 (8th Cir.

                  1993) (defendant’s “difficulty with the English language adds nothing to his argument, insofar

                  as a duly sworn interpreter was provided at both the entry of plea and sentencing hearings”). The

                  undersigned, therefore, sees no merit to Defendant’s challenge to his guilty plea.

                  II.    Ineffective Assistance of Counsel and Guideline Range:

                         Defendant asserts that his appointed counsel was ineffective because he “failed to bring

                  to the Judge’s attention the amount of drugs involved in this case.” The Presentence Investigation

                  Report (PSR) calculated a base offense level of 38, stating that Defendant was accountable for

                  2.25 kilograms of actual methamphetamine. (PSR ¶ 45). Defendant argues that his base offense

                  level should have been a 32 or 33, as the offense conduct involved five pounds of “a mixture

                  containing a substance of methamphetamine.” (Doc. 174, pgs. 5, 7, 23, 26; Doc. 182, pg. 2).

                  The Government argues that Defendant agreed in the stipulation of facts paragraph of the Plea

                  Agreement that the methamphetamine seized in this case was 2.24 kilograms of a mixture that

                  was 99% pure methamphetamine.

                         The United States Sentencing Guidelines § 2D1.1(c)(1) provides for a base offense level

                  of 38 for cases involving 1.5 kilograms or more of methamphetamine (actual). As pointed out

                  by the Government, the difference between the terms “actual methamphetamine” and

                  “methamphetamine” is explained in note (B) to the Drug Quantity Table in §2D1.1 of The

                  United States Sentencing Guidelines:


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                          The terms “PCP (actual)”, “Amphetamine (actual)”, and “Methamphetamine
                          (actual)” refer to the weight of the controlled substance, itself, contained in the
                          mixture or substance. For example, a mixture weighing 10 grams containing
                          PCP at 50% purity contains 5 grams of PCP (actual). In the case of a mixture or
                          substance containing PCP, amphetamine, or methamphetamine, use the offense
                          level determined by the entire weight of the mixture or substance, or the offense
                          level determined by the weight of the PCP (actual), amphetamine (actual), or
                          methamphetamine (actual), whichever is greater.

                          A review of the Plea Agreement revealed that Defendant admitted to arranging the

                  delivery of five pounds of methamphetamine which was determined to contain 2.24 kilograms

                  of a mixture that was 99% pure methamphetamine. (Doc. 115, p. 2). Therefore, the use of a

                  recommended base offense level of 38 was correctly applied in this case.

                          Defendant also argues that he should have received a three point downward adjustment

                  for acceptance of responsibility. (Doc. 174, p. 23). The PSR recommended that Defendant

                  receive no adjustment for acceptance of responsibility, citing Note 2 of §3E1.1.2 (PSR ¶ 51).

                  As indicated in the PSR, Defendant put the Government to the burden of preparing for trial and

                  did not enter a plea of guilty until after jury selection. (PSR ¶ 42). As further indicated in the

                  PSR, Defendant never fully admitted his involvement in the drug conspiracy. This conduct is

                  inconsistent with acceptance of responsibility. See United States v. Jackson, 424 F. App'x 603,

                  605-06 (8th Cir. 2011) (Defendant did not clearly demonstrate acceptance of responsibility where

                  he waited until the day of trial to enter a guilty plea and, even after pleading guilty, continued to

                  maintain his innocence).




                          2
                           Note 2 of §3E1.1 states the following:
                          This adjustment is not intended to apply to a defendant who puts the government to its burden of proof at trial by
                          denying the essential factual elements of guilt, is convicted, and only then admits guilt and expresses remorse...

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                         Additionally, the PSR calculated an upward adjustment of 2 points for obstruction of

                  justice pursuant to §3C1.1.3 (PSR ¶ 49). The PSR indicated that during the investigation, a letter

                  was recovered wherein Defendant instructed a co-defendant to keep his mouth shut, and that if

                  this was done, Defendant would take care of the co-defendant’s family by sending money once

                  Defendant was out of jail. (PSR ¶41). This enhancement further supports the denial of a

                  reduction for acceptance of responsibility. See U.S.S.G. § 3E1.1 n. 4.

                          Accordingly, Defendant’s arguments that his counsel was ineffective because his counsel

                  “failed to bring to the Judge’s attention the amount of drugs involved” and that he was entitled

                  to a reduction for acceptance of responsibility are meritless.

                  Conclusion

                         Based upon the forgoing, the undersigned recommends that the instant motion, filed

                  under 28 U.S.C. Section 2255, be dismissed with prejudice.

                         An appeal may not be taken in this matter unless the Court issues a certificate of

                  appealability, which shall be issued only if "the applicant has made a substantial showing of the

                  denial of a constitutional right." 28 U.S.C. § 2253(b) & (c)(2). A "substantial showing" is a

                  showing that “issues are debatable among reasonable jurists, a court could resolve the issues

                  differently, or the issues deserve further proceedings.” Cox v. Norris, 133 F.3d 565, 569 (8th Cir.

                  1997), cert. denied, 525 U.S. 834 (1998). Based upon the above analysis of Defendant’s § 2255




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                            §3C1.1 states the following:
                           If (A) the defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration of
                          justice with respect to the investigation, prosecution, or sentencing of the instant offense of conviction, and (B)
                          the obstructive conduct related to (I) the defendant’s offense of conviction and any relevant conduct; or (ii) a
                          closely related offense, increase the offense level by 2 levels.



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                  motion, the undersigned does not believe that there is any basis for the issuance of a certificate

                  of appealability and, therefore, recommends that a certificate of appealability be denied.

                         The parties have fourteen days from receipt of this report and recommendation in

                  which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

                  timely written objections may result in waiver of the right to appeal questions of fact. The

                  parties are reminded that objections must be both timely and specific to trigger de novo

                  review by the district court.

                         Dated this 2nd day of May, 2013.




                                                                       /s/ Erin L. Setser
                                                                        HON. ERIN L. SETSER
                                                                        UNITED STATES MAGISTRATE JUDGE




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